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                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA


   UNITED STATES OF AMERICA                         CRIMINAL ACTION
   VERSUS                                           NO: 07-384
   DERRICK D.T. SHEPHERD                            SECTION: J(2)
                        ORDER AND REASONS

     Before the Court is Petitioner’s Motion to Alter or Amend

Judgment (Rec. Doc. 531).

     Altering or amending a judgment under Rule 59(e) is an

“extraordinary remedy” used “sparingly” by the courts.           Templet

v. Hydrochem, Inc., 367 F.3d 473, 479 (5th Cir. 2004).           A motion

to alter or amend calls into question the correctness of a

judgment and is permitted only in narrow situations, “primarily

to correct manifest errors of law or fact or to present newly

discovered evidence.”    Id.; see also Schiller v. Physicians Res.

Grp. Inc., 342 F.3d 563, 567 (5th Cir. 2003).         Manifest error is

defined as “‘[e]vident to the senses, especially to the sight,

obvious to the understanding, evident to the mind, not obscure or

hidden, and is synonymous with open, clear, visible,

unmistakable, indubitable, indisputable, evidence, and

self-evidence.’”   In Re Energy Partners, Ltd., 2009 WL 2970393,

at *6 (Bankr. S.D. Tex. Sept. 15, 2009) (citations omitted); see


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also Pechon v. La. Dep't of Health & Hosp., 2009 WL 2046766, at

*4 (E.D. La. July 14, 2009) (manifest error is one that “‘is

plain and indisputable, and that amounts to a complete disregard

of the controlling law’”) (citations omitted).

     The Fifth Circuit has noted that “such a motion is not the

proper vehicle for rehashing evidence, legal theories, or

arguments that could have been offered or raised before entry of

judgment.”   Templet, 367 F.3d at 478-79.      Nor should it be used

to “re-litigate prior matters that ... simply have been resolved

to the movant’s dissatisfaction.”      Voisin v. Tetra Technologies,

Inc., 2010 WL 3943522, at *2 (E.D. La. Oct. 6, 2010).           Thus, to

prevail on a motion under Rule 59(e), the movant must clearly

establish at least one of three factors: (1) an intervening

change in the controlling law, (2) the availability of new

evidence not previously available, or (3) a manifest error in law

or fact.   Schiller, 342 F.3d at 567; Ross v. Marshall, 426 F.3d

745, 763 (5th Cir. 2005) (to win a Rule 59(e) motion, the movant

“must clearly establish either a manifest error of law or fact or

must present newly discovered evidence”).

     In the instant case, Petitioner has not cited to any

intervening change in the law since this Court’s May 9, 2011,

Order and Reasons (Rec. Doc. 529). Furthermore, Petitioner has


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not pointed to any newly discovered     evidence previously

unavailable, nor has he clearly established either a manifest

error of law or fact. Accordingly,

     IT IS ORDERED that Petitioner’s Motion to Alter or Amend

Judgment (Rec. Doc. 531) is DENIED.

     New Orleans, Louisiana, this 1st day of June, 2011.




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                                 CARL J. BARBIER
                                 UNITED STATES DISTRICT JUDGE




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